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                            United States District Court
                           Middle District of Pennsylvania
                               Harrisburg Division

The PUBLIC INTEREST LEGAL
FOUNDATION,

                                            Plaintiff,
    v.

LEIGH M. CHAPMAN, in her official
capacity as Acting Secretary of the                      No. 1:19-cv-00622-CCC
Commonwealth of Pennsylvania, and
JONATHAN M. MARKS, in his official
capacity as Deputy Secretary for Elections and
Commissions,

                                        Defendants.


                           Declaration of Noel H. Johnson

         I, Noel H. Johnson, make the following declaration pursuant to 28 U.S.C. §

1746:

         1.    I am an attorney at the Public Interest Legal Foundation

(“Foundation”). The Foundation is a 501(c)(3) public interest law firm based in

Indianapolis, Indiana that served as plaintiff and counsel in this action. The

Foundation specializes exclusively in elections and voting issues and its lawyers

have extensive experience litigating cases under the law that governed this action:

the National Voter Registration Act of 1993 (“NVRA”), 52 U.S.C. §§ 20501 et seq.




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       2.     I and other Foundation lawyers provided services on behalf of the

Foundation in this action. As lead counsel, I performed or directed most of the work

on this case. I am thus familiar with the work performed by other Foundation lawyers

at all stages of the litigation.

       3.     This declaration is submitted in support of the Foundation’s Motion for

Attorney’s Fees, Costs, and Expenses and attests to the accuracy and necessity of

the fees, costs, and expenses incurred by the Foundation in the successful

prosecution of this action.

       4.     I am currently Litigation Counsel for the Foundation. I graduated cum

laude from Marquette University Law School in 2010, after which I joined The Bopp

Law Firm, where I specialized in campaign finance and constitutional law. In that

role, I litigated cases to protect the constitutional rights of individuals, associations,

corporations, and political groups in federal and state courts throughout the country.

I joined the Foundation in 2012. I specialize in litigation, education, and research

related to elections and voting. In addition to this action, I have served as counsel in

numerous cases to enforce the NVRA, including the public records provision upon

which this case is based. Those cases include:

   American Civil Rights Union v. Clarke County, Mississippi Election
   Commission, No. 2:14-cv-101 (S.D. Miss, filed July 27, 2015).
   American Civil Rights Union v. Rodriguez, No. 7:16-cv-103 (S.D. Tex., filed
   March 4, 2016).


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   Virginia Voters Alliance, Inc. v. Leider, Civ. No. 16-395 (E.D. Va., filed April
   7, 2016).
   Public Interest Legal Foundation v. Reed, No. 1:16-cv-1375 (E.D. Va., filed
   Oct. 31, 2016).
   Public Interest Legal Foundation v. Haake, No. 3:16-836 (E.D. Va., filed Oct.
   31, 2016).
   Public Interest Legal Foundation v. Bennett, No. 4:17-cv-00981 (S.D. Tex.,
   filed March 29, 2018).
   Public Interest Legal Foundation v. Bell, No. 5:19-cv-248 (E.D.N.C., filed June
   17, 2019).
   Public Interest Legal Foundation v. Lamone, No. 1:19-cv-3564 (D. Md., filed
   Dec. 16, 2019).
   Public Interest Legal Foundation v. Bellows, No. 1:20-cv-61 (D. Me., filed Feb.
   19, 2020).
   Public Interest Legal Foundation v. Voye, No. 2:20-cv-279 (W.D. Pa., filed
   Feb. 24, 2020).
   Public Interest Legal Foundation v. Benson, No. 1:21-cv-00929 (W.D. Mich.,
   filed Nov. 3, 2021).
   Public Interest Legal Foundation v. Evans, No. 1:21-cv-03180 (D.D.C., filed
   Dec. 6, 2021).
   Public Interest Legal Foundation v. Griswold, No. 1:21-cv-03384 (D. Co., filed
   Dec. 16, 2021).
   Public Interest Legal Foundation v. Meyer, No. 1:22-cv-00001 (D. Ak., filed
   Jan. 20, 2022).
   Public Interest Legal Foundation v. Ardoin, No. 3:22-cv-00081 (D. La., filed
   Feb. 4, 2022).
   Public Interest Legal Foundation v. Way, No. 3:22-cv-02865 (D. N.J., filed
   May 17, 2022).

My work has also been published in law journals, e.g., Resurrecting Retrogression:

Will Section 2 of the Voting Rights Act Revive Preclearance Nationwide?, 12 Duke

J. Const. L. & Pub. Pol’y 1, 6 (2017), and by media outlets, such as the Washington


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Examiner, The Hill, and National Review. I have also provided written and oral

testimony before governmental bodies regarding election and voting issues. E.g.,

Testimony of Noel H. Johnson before the House State Government Committee on

Noncitizen Registration and Voting in the Commonwealth, October 25, 2017,

available         at         https://publicinterestlegal.org/pilf-files/Johnson-Oct-17-

Testimony.pdf. I regularly contribute to Foundation reports concerning elections,

voting, and related issues. See https://publicinterestlegal.org/category/reports/. I am

a member of the bar of the State of Wisconsin and the United States District Court

for the Eastern District of Wisconsin, and I am admitted to practice in the United

States Courts of Appeal for the Fourth, Eighth, Ninth, Tenth, and District of

Columbia Circuits. The Foundation is seeking reimbursement at a rate of $400 per

hour for my time.

      5.     Kaylan L. Phillips is Litigation Counsel for the Foundation. She

graduated from The University of Tulsa College of Law in 2008, after which she

joined The Bopp Law Firm, where she specialized in campaign finance and

constitutional law. In that role, she litigated cases to protect constitutional rights in

federal and state courts throughout the country. She joined the Foundation in 2012.

She specializes in litigation, education, and research related to elections and voting.

She is a member of the bar in Oklahoma, Indiana, and the District of Columbia. She

is also a member of the bar of the United States Supreme Court, the United States


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Court of Appeals for the Second, Fourth, Fifth, Eighth, Ninth, Eleventh, and District

of Columbia Circuits, as well as many United States District Courts. In addition to

this action, she has served as counsel in numerous cases to enforce the NVRA,

including the public records provision upon which this case is based:

   American Civil Rights Union v. Rodriguez, No. 7:16-cv-103 (S.D. Tex., filed
   March 4, 2016).
   Voter Integrity Project NC, Inc. v. Wake County Board of Elections, No. 5:16-
   cv-00683 (E.D. N.C., filed July 18, 2016).
   Public Interest Legal Foundation v. Bell, No. 5:19-cv-248 (E.D.N.C., filed June
   17, 2019).
   Public Interest Legal Foundation v. Winfrey, No. 2:19-cv-13638 (E.D. Mich.,
   fled Dec. 10, 2019).
   Public Interest Legal Foundation v. Bellows, No. 1:20-cv-61 (D. Me., filed Feb.
   19, 2020).
   Public Interest Legal Foundation v. Sandvoss, No. 3:20-cv-03190 (C.D. Ill.,
   filed July 27, 2020).
   Public Interest Legal Foundation v. Benson, No. 1:21-cv-00929 (W.D. Mich.,
   filed Nov. 3, 2021).
   Public Interest Legal Foundation v. Evans, No. 1:21-cv-03180 (D.D.C., filed
   Dec. 6, 2021).
   Public Interest Legal Foundation v. Griswold, No. 1:21-cv-03384 (D. Co., filed
   Dec. 16, 2021).
   Public Interest Legal Foundation v. Meyer, No. 1:22-cv-00001 (D. Ak., filed
   Jan. 20, 2022).

She was also counsel for the plaintiff in Bellitto v. Snipes, No. 0:16-cv-61474 (S.D.

Fla., filed June 27, 2016), which, to the Foundation’s knowledge, involved the first

ever trial over the NVRA’s voter list maintenance obligations. She has also authored

or co-authored amicus curiae briefs in election law litigation throughout the country.

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Her work has been published by media outlets such as The Hill, Fox News,

SCOTUSBlog, and The Daily Signal. She has also provided written and oral

testimony before the U.S. House of Representatives regarding election and voting

issues. See Testimony of Kaylan L. Phillips before the United State House

Committee on Oversight and Reform, Subcommittee on Civil Rights and Civil

Liberties, May 1, 2019, available at https://publicinterestlegal.org/pilf-files/House-

Oversight-Committee-Testimony-of-Kaylan-Phillips-May-1-2019.pdf.The

Foundation is seeking reimbursement at a rate of $400 per hour for her time.

      6.     As part of the Foundation’s normal business practice, Foundation

attorneys tracked the time they worked on this matter. Foundation attorneys

contemporaneously recorded descriptions of the services or tasks performed. These

records were made and kept by the attorney with personal knowledge of the entries.

Each entry was made on or around the date the work was performed.

      7.     A chart compiling the time expended by Foundation attorneys and the

description of the work is attached as Exhibit 1 to this declaration (the “Foundation

Billing Statement”). The Foundation Billing Statement truly and accurately reflects

the time-keeping records of the Foundation attorneys who performed worked on

behalf of the Foundation in this action.

      8.     I have reviewed and am familiar with the relevant time-keeping records.

The services described in the Foundation Billing Statement were reasonably and


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necessarily performed in pursuit of the Foundation’s claims on the merits and in

pursuit of attorney’s fees, costs, and expenses under the NVRA’s fee-shifting

provision.

      9.     The time expended for each task performed is accurately listed in the

Foundation Billing Statement under the column-heading “Gross Hours.” The service

or task performed is accurately described in the Foundation Billing Statement under

the column-heading “Comment.”

      10.    In the reasonable exercise of billing judgment, the Foundation is not

seeking reimbursement for certain billing entries. These reductions were made for

time spent on certain tasks that were deemed excessive, duplicative, redundant,

inefficient, not directly related to the case, not sufficiently detailed, or which in the

exercise of reasonable billing judgment, the Foundation has agreed not to seek

recovery for one reason or another.

      11.    Where billing judgments were made, the “Gross Hours” incurred by the

Foundation were adjusted, resulting in the “Adjusted Hours,” which reflect any

reduction and provide the amount of time for which recovery is sought.

      12.    The Foundation excluded a significant number of hours from its

attorney’s fees request. For example, the Foundation has excluded hours related to

mediation, even though Defendants suggested mediation and the Foundation had by

that time obtained an enforceable judgment.


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      13.       In total, the Foundation has excluded 70.4 hours from its request, which

results in a reduction of $28,160 from total amount of fees incurred. See Exhibit 1.

      14.       The Foundation also incurred expenses in the prosecution of this case.

Those expenses are truly and accurately listed in Exhibit 2 to this declaration (the

“Foundation Expense Report”). It is the Foundation’s normal practice to track and

bill for each of these expenses separately and each of the expenses for which

reimbursement is sought was reasonably and necessarily incurred in the successful

prosecution of the Foundation’s case. The total amount of costs and expenses

incurred by the Foundation to date is $2,361.41.

      15.       Because the Foundation’s attorneys are not admitted to practice law in

Pennsylvania, they were required to associate with a local attorney to file and

prosecute this action. Philadelphia-based attorney Linda A. Kerns served as the

Foundation’s local counsel. Ms. Kerns’ time and expenses are discussed and

documented in the Declaration of Linda A. Kerns filed along with the Foundation’s

fee petition.

      16.       To date, the total amount requested for work performed by Foundation

attorneys Johnson and Phillips as compensation for the successful prosecution of this

action and in pursuit of fees, costs, and expenses is $166,200.00. The Foundation

plans to submit documentation for the remaining work in this matter with a

Supplemental Motion when that work is completed.


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      I affirm under penalty of perjury that the foregoing is true and correct.

Executed on this 16th day of December 2022.



                                               /s/ Noel H. Johnson
                                              Noel H. Johnson




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